           Case 1:13-cv-00535-RCL Document 16-2 Filed 10/23/13 Page 1 of 11




                                                        Leach Travel! Britt pc    Wayne G Travel!
       leach                                            8270 Greensboro Drive     main 703.584.8900
       travel l                                         Suite 1050                direct 703.584.8903
       britt                                            McLean, Virginia 22102    fax 703.584.8901
                                                        www.itblaw.com            email wtravell @ltblaw.com




                                       December 23, 2011



VIA E -MAIL: scotticloyleAgmail.com               VIA E-MAIL: peter.d.hans(@,gmail.com

Mr. Scott J. Doyle                               Mr. Peter D. Hans
4118 Aspen Street                                4012 Virgilia Street
Chevy Chase, Maryland 20815                      Chevy Chase, Maryland 20815

          Re:     Engagement Agreement

Dear Mr. Doyle and Mr. Hans:

        This letter will confirm that each of you wishes to engage. Leach Travell Britt pc. ("LTB")
to represent you against FBR Capital Market Corporation ( "FBR ") for recovery of deferred
commissions and for any other matters as to which we may represent you. Because its appears
that each of you has a common interest with respect to this matter, you have agreed that, subject
to disclosures regarding potential conflicts of interest discussed more fully below, you have
determined that you wish to be represented by the same attorney and law firm at this stage of this
matter.

       As mentioned above, you have requested that this firm represent you individually and
collectively with regard to claims against FBR. We have carefully considered our ethical
obligations in this matter and it appears to us that our joint representation of each of you under
this Agreement does not create any actual conflict of interest and is not likely to do so in the
future. Each party to this letter represents that he it is not aware of any actual or potential
conflict of interest that would interfere in this firm's ability to represent each and all of you
zealously in this matter. In the event that an actual conflict between one or all of you does arise
which cannot be waived, we may have to withdraw as counsel for some or all of you and some or
all of you may need to engage new and separate counsel.

       Typically, we undertake litigation representations on an hourly fee basis. Under this
arrangeMent, any meniber of our legal staff devoting time to your case on a particular day
records that time. At the end of the billing cycle, we total the time for each time keeper for your
matter and apply our hourly rates. My hourly rate is $485, associates' rates range from $235 to
$335 and legal assistants' are billed at $185 per hour. One of the advantages of an hourly rate is
that you would only be obligated to pay legal fees actually incurred which could be small relative
to, the recovery. Conversely, the disadvantages to you of an hourly arrangement include the


(LTB-00022306-}
                                                                                       EXHIBIT A
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 Mr. Scott J. Doyle
 Mr. Peter D. }Tans
 December 23, 2011
 Page 2


 possibility of incurring substantial fees if the case were to continue for a lengthy period of time
 and the certainty of paying legal fees even if there is no recovery in this case.

         In this case, you have asked LTB to accept this engagement on a contingent fee basis.
 Under this arrangement, your obligation to pay legal fees is contingent upon money being
 collected by way of settlement or enforcement of a judgment. In other words, you are required
 to pay for legal services only if there is a recovery in the case. A disadvantage of a contingent
 fee arrangement from your perspective is that if the case were to settle quickly, LTB may be
 entitled to a substantial fee even though the firm has done a relatively small amount of work. An
 advantage to you under a contingent fee arrangement, however, is that you will not pay any legal
 fees unless and until there is a recovery.

         We have agreed that LTB will be paid one-third (1/3) of the gross amount of any
 recovery obtained through settlement or through post-trial enforcement and collection. If either
 party files an appeal, our fee will increase to forty percent (40%) of the gross amounts collected.
 We will, however, keep track of our time as if this were an hourly engagement.

        In the event. you terminate this agreement before any recovery is collected hereunder, and
 if you later obtain a recovery from FBR with or without the services of another attorney, you
agree that LTB will be entitled to the reasonable value of the services provided hereunder prior
to termination and that LTB will be entitled to payment from and will have a lien upon any such
recovery. For the purposes of, determining the amount of LTB's payment and lien, you agree
that LTB may assert the value of its hourly services at the rates provided herein plus any
unreimbursed expenses, if any. If you dispute that LTB's claim for fees and expenses fee is
reasonable, you agree to place the full amount of the fee claimed by LTB into an escrow account
at Walker Title or, if litigation is filed by either party, into the registry of the Circuit Court for
Fairfax County, pending resolution of said dispute pursuant to the terms hereof. You also agree,
in the event that you terminate LTB, that you will provide a copy of this agreement to new
counsel, if any.

        We will send you an invoice each month for out-of-pocket disbursements such as filing
 fees, delivery costs, outside copying costs, expert witness fees and any other service for which
LTB may have to write a check or become obligated to any third party on your behalf. You have
agreed to pay LTB an ever-green retainer of Five Thousand Dollars ($5,000.00) which we will
deposit into our firm's escrow account and, which we will use to pay third-party costs as they are
incurred each month. You have agreed to pay and invoiced amounts exceeding the retainer and
to replenish the retainer within thirty (30) days of the invoice date. Any unused portions of the
retainer will be refunded to you upon the conclusion of our representation of you. Our practice is
to send invoices each month for the fees and/or vendor costs for the previous month.

       You understand and and agree that LTB has not made any guarantees or promises about
the outcome of this matter or of the likelihood that FBR will be able to pay any judgment amount
that might be awarded against it.


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           Case 1:13-cv-00535-RCL Document 16-2 Filed 10/23/13 Page 3 of 11



 Mr. Scott J. Doyle
 Mr. Peter D. Hans
 December 23, 2011
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        This.. Agreement is entered into in the Commonwealth of Virginia for the provision of
 legal services in Virginia. Consequently, in any action to collect, enforce and/or interpret this
 Agreement, or to resolve any disputes arising hereunder, shall be construed in accordance with
 and governed by the laws of the Commonwealth of Virginia, without giving effect to conflict of
 laws principles. The parties further agree that any suit arising under this Agreement shall be
 brought in the Circuit Court for Fairfax County, Virginia and that they hereby submit to personal
jurisdiction and venue in the aforementioned Virginia Courts. In any suit to interpret or enforce
this Agreement, the parties hereby waiver their right to a trial by jury and hereby consent to trial
 by a judge. In any law suit arising hereunder, the Court shall award the prevailing party
reasonable attorneys' fees and costs. You have had the opportunity, and have been encouraged,
 to seek independent counsel regarding the terms and conditions of this Agreement.

       If the foregoing arrangements are acceptable to each you, please execute this letter below
and return it to me along with a check for Five Thousand Dollars ($5,000.00) payable to Leach
Travell Britt pc. If the foregoing arrangements are not acceptable to any of you, or if you have
any questions regarding this letter, please contact me immediately. We encourage candid
discussion of all aspects of our engagement, including our fees and invoices.

        Thank you for the opportunity to represent you and we look forward to working with you
on this matter.

                                             Sincerely,

                                             LEACH TRAYELL BRITT, pc

                                              ,717Aperi.
                                             By:
                                                     Wayne G. Travell

WGT:ned




(1,111-00022306-}
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 Mr. Scott J. Doyle
 Mr. Peter D. Hans
 December 23, 2011
 Page 4


 AGREED AND ACCEPTED THIS

  °        day of To..At1c,i, 20 VZ-,




 Peter D. Hans




0-113-00022306-)
         Case 1:13-cv-00535-RCL Document 16-2 Filed 10/23/13 Page 5 of 11


Page 4


AGREED AND ACCEPTED THIS

  a7th day of Dr.t.tAlla 2011 .




Peter D. Hans
                   Case 1:13-cv-00535-RCL Document 16-2 Filed 10/23/13 Page 6 of 11


  Leach Travell Britt pc                                       8270 Greensboro Drive Suite 700 Tysons Corner, VA 22102
                                                                                                          703.584.8900


 Peter D. Hans                                                                                 Invoice # 17592
 4118 Aspen Street                                                                             April 30, 2013
 Chevy Chase, MD 20815                                                                         Client:    000999-00001

                                                                                               EIN: XX-XXXXXXX
  In Reference To:      FBR Capital Market Corporation



              Professional services rendered through April 30, 2013

                                                                                                         Hours       Amount


   4/22/2013 RRV      Initial review of papers filed by FBR; emails to clients.                            1.10

   4/23/2013 RRV Telephone call to P. Hans; further review of motion to vacate; legal                     3.50
                 research re same.

   4/24/2013 RRV     Continue research and analysis of opposition.                                        3.10

   4/25/2013 RRV     Draft opposition brief and related research.                                         2.40

   4/26/2013 RRV     Draft opposition for motion to                                                       0.80
                     vacate.

   4/29/2013 RRV     Draft opposition brief, including review of exhibits and testimony and               6.80
                     legal research.

   4/30/2013 RRV Continue draft brief; legal research re same.                                            2.90


              For professional services rendered                                                        20.60     $9,270.00


                  Balance due                                                                                     $9,270.00




                                                    Timekeeper Summary

Name                                                                          Hours           Rate           Amount
Robert R. Vieth                                                               20.60           450.00         $9,270.00




                                                                                                 EXHIBIT B
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Leach Travell Britt pc                                      8270 Greensboro Drive Suite 700 Tysons Corner, VA 22102

                                                                                                      703.584.8900


Peter D. Hans                                                                               Invoice # 18231
4118 Aspen Street                                                                           October 22, 2013
Chevy Chase, MD 20815                                                                       Client No000999-00001

                                                                                            El N: XX-XXXXXXX

In Reference To:       FBR Capital Market Corporation




           Professional services rendered through September 30, 2013

                                                                                                      Hours     Amount

  5/1/2013 RRV Continue drafting brief, including research, etc.                                       3.70

  5/2/2013 RRV Telephone call from P. Hans; continued analysis of brief.                               0.70

  5/6/2013 RRV Review hearing transcript; continue drafting brief.                                     4.50

  5/7/2013 RRV Continue review of record and drafting of brief.                                        7.80

  5/8/2013 RRV Continue preparing brief and exhibits.                                                  7.60

  5/9/2013 RRV Continue organizing exhibits; prepare transmittal affidavit; continue                   4.10
               preparing brief.

 5/10/2013 RRV      Further edits to brief, including research re federal regulations.                 1.40

 5/13/2013 WGT Review opposition brief; conference with R. Vieth.                                      1.50

 5/23/2013 WGT Review reply for motion to vacate.                                                      0.60

 5/24/2013 RRV      Review reply brief of FBR; confer with W. Travell; email P. Hans.                  0.60

 5/29/2013 RRV      Begin draft reply brief.                                                           2.10

 5/30/2013 RRV Continue drafting reply brief.                                                          0.90

 5/31/2013 RRV      Continue draft reply brief.                                                        2.50

  6/1/2013 RRV Draft argument regarding attorney's fees under D.C. Code; confer with                   2.10
               W. Travel! regarding same.

  6/3/2013 RRV      Finalize and file reply brief.                                                     3.70

 6/11/2013 WGT E-mail correspondence with R. Vieth regarding new supreme court case.                   0.40

           RRV      Review new Supreme Court decision regarding arbitration.                           0.50
                   Case 1:13-cv-00535-RCL Document 16-2 Filed 10/23/13 Page 8 of 11




 Peter D. Hans                                                                                              Page    2


                                                                                                    Hours      Amount

  6/12/2013 RRV Analysis of new Supreme Court case; confer with W. Travell; draft,                   2.20
                 revise and file notice of supplemental authority with court; e-mail P.
                      Hans.

 10/21/2013 RRV Research and draft motion and affidavit for attorney's fees; telephone               7.20
                 call from P. Hans.

 10/22/2013 RRV Finalizing motion for attorney's fees and expenses and accompanying                  4.50
                      filings.


                  For professional services rendered                                                58.60 $26,457.50


                                                Timekeeper Summary
Name                                                                                  Hours        Rate        Amount
Robert R. Vieth                                                                       56.10      450.00     $25,245.00
Wayne G. Travell                                                                          2.50   485.00      $1,212.50


Please remit a copy of the Invoice with your payment.
                                 Case 1:13-cv-00535-RCL Document 16-2 Filed 10/23/13 Page 9 of 11

                                                                                                                   tNVOIC
                                                                                                       Invoice No.               Invoice Date               Job No.
                                                                                                          47595                    5/3/2013                   33725
                                1CT D 705                                                              Job Date                                  Case No.

                                                                                                        3/4/2013             12-01131

                                                                                                                                 Case Name

                                                                                               Hans and Doyle -v- FBR Capital Markets & Co.

           Robert Vieth, Esquire
           Leach, Travell & Britt, PC                                                                                           Payment Terms
           8270 Greensboro Drive
           Suite 700                                                                           Due upon receipt
           Tysons Corner, VA 22102


  TRANSCRIPT WITH INDEX OF:
           Arbitration, Day 1                                                                                    443.00 Pages                                        1,608.09
                                                                                                                 TOTAL DUE >>>                                   $1,608.09
  Due upon receipt and is not contingent on client payment.

  For billing questions, please email billing@planetdepos.com or call 888,433.3767

  Thank you for your business.




rax ID: XX-XXXXXXX

                                                         Please detach bottom portion and return with payment.


                                                                                            Job No.          :    33725                  BU ID          : 1-MAIN
Robert Vieth, Esquire                                                                       Case No.         :    12-01131
Leach, Travel! & Britt, PC
                                                                                            Case Name        :    Hans and Doyle -v- FBR Capital Markets & Co.
8270 Greensboro Drive
Suite 700
Tysons Corner, VA 22102                                                                     Invoice No.      :    47595                 Invoice Date    : 5/3/2013
                                                                                           Total Due         :    $1,608.09



                                                                                             PAYMENT WITH CREDIT CARD

                                                                                             Cardholder's Name:
                                                                                             Card Number'
emit To:     Planet Depos
             405 East Gude Drive                                                             Exo, Date'                           Phone#:
             Suite 209                                                                       Billing Address:
             Rockville, MD 20850
                                                                                             Zio:                     Card Security Code:
                                                                                             Amount to Charge:
                                                                                             Cardholder's Signature:
                                                                                                                                                  EXHIBIT C
                                 Case 1:13-cv-00535-RCL Document 16-2 Filed 10/23/13 Page 10 of 11
                                                                                                                  INVOICE
                                                                                                      Invoice No.               Invoice Date              Job No.
                                                                                                         47596                    5/3/2013                  33728

                                  ET D                                                                 Job Date                                Case No.

                                                                                                       3/5/2013             12-01131

                                                                                                                                Case Name
                                                                                               Hans and Doyle -v- FBR Capital Markets & Co.

           Robert Vieth, Esquire
           Leach, Travel! & Britt, PC                                                                                          Payment Terms
           8270 Greensboro Drive
                                                                                               Due upon receipt
           Suite 700
           Tysons Corner, VA 22102



  TRANSCRIPT WITH INDEX OF:
           Arbitration, Day 2                                                                                   434.00 Pages                                       1,575.42

                                                                                                                TOTAL DUE >>>                                   $1,575.42
  Due upon receipt and is not contingent on client payment.

  For billing questions, please email billing@planetdepos.com or call 888.433.3767

  Thank you for your business.




fax ID: XX-XXXXXXX

                                                         Please detach bottom portion and return with payment.


                                                                                            Job No.         :    33728                 BU ID          : 1-MAIN
Robert Vieth, Esquire                                                                       Case No.        :    12-01131
Leach, Travel] & Britt, PC
                                                                                            Case Name       :    Hans and Doyle -v- FBR Capital Markets & Co.
8270 Greensboro Drive
Suite 700
Tysons Corner, VA 22102                                                                    Invoice No.           47596                 Invoice Date
                                                                                                            :
                                                                                                                                                      : 5/3/2013
                                                                                           Total Due        :    $1,575.42


                                                                                             PAYMENT WITH CREDIT CARD

                                                                                             Cardholder's Name:

emit To:     Planet Depos                                                                    Card Number:
             405 East Gude Drive                                                             Exp. Date'                          Phone#:
             Suite 209                                                                       Billing Address:
             Rockville, MD 20850
                                                                                             Zip:                    Card Security Code:
                                                                                             Amount to Charge:
                                                                                             Cardholder's Signature:
            Case 1:13-cv-00535-RCL Document 16-2 Filed 10/23/13 Page 11 of 11




                                       LAFFEY MATRIX -- 2003-2013
                              (2009-10 rates were unchanged from 2008-09 rates)

                                 Years (Rate for June 1 - May 31, based on prior year's CPI-U)
      Experience      03-04     04-05     05-06     06-07    07-08     08-09     09-10     10-11     11-12     12-13

      20+ years        380       390       405       425      440       465       465       475       495      505
      11-19 years      335       345       360       375      390       410       410       420       435      445

      8-10 years       270       280       290       305      315       330       330       335       350      355
      4-7 years        220       225       235       245      255       270       270       275       285      290
      1-3 years        180       185       195      205       215       225       225      230       240       2-15

     Paralegals &      105       110       115       120      125       130       130       135       140      145
     Law Clerks


                                                      aplanatoly Notes:

1.         This matrix of hourly rates for attorneys of varying experience levels and paralegals/law clerks has been
           prepared by the Civil Division of the United States Attorney's Office for the District of Columbia. The matrix is
           intended to be used in cases in which a "fee-shifting" statute permits the prevailing party to recover "reasonable"
           attorney's fees. See, e.g., 42 U.S.C. § 2000e-5(k) (Title VII of the 1964 Civil Rights Act); 5 U.S.C. §
           552(a)(4)(E) (Freedom of Information Act); 28 U.S.C. § 2412 (b) (Equal Access to Justice Act). The matrix
           does not apply in cases in which the hourly rate is limited by statute. See 28 U.S.C. § 2412(d).

2.         This matrix is based on the hourly rates allowed by the District Court in Laffey v. Northwest Airlines, Inc., 572
           F. Supp. 354 (D.D.C. 1983), affd in part, rev'd in part on other grounds, 746 F.2d 4 (D.C. Cir. 1984), cert.
           denied, 472 U.S. 1021 (1985). It is commonly referred to by attorneys and federal judges in the District of
           Columbia as the "Laffey Matrix" or the "United States Attorney's Office Matrix." The column headed
           "Experience" refers to the years following the attorney's graduation from law school. The various "brackets" are
           intended to correspond to "junior associates" (1-3 years after law school graduation), "senior associates" (4-7
           years), "experienced federal court litigators" (8-10 and 11-19 years), and "very experienced federal court
           litigators" (20 years or more). See Laffey, 572 F. Supp. at 371.

3.         The hourly rates approved by the District Court in Laffey were for work done principally in 1981-82. The
           Matrix begins with those rates. See Laffey, 572 F. Supp. at 371 (attorney rates) & 386 n.74 (paralegal and law
           clerk rate). The rates for subsequent yearly periods were detennined by adding the change in the cost of living
           for the Washington, D.C. area to the applicable rate for the prior year, and then rounding to the nearest multiple
           of $5 (up if within S3 of the next multiple of $5). The result is subject to adjustment if appropriate to ensure that
           the relationship between the highest rate and the lower rates remains reasonably constant. Changes in the cost
           of living are measured by the Consumer Price Index for All Urban Consumers (CPI-U) for Washington-
           Baltimore, DC-MD-VA-WV, as announced by the Bureau of Labor Statistics for May of each year.

4.        Use of an updated Laffey Matrix was implicitly endorsed by the Court of Appeals in Save Our Cumberland
          Mountains v. Hodel, 857 F.2d 1516, 1525 (D.C. Cir. 1988) (en banc). The Court of Appeals subsequently
          stated that parties may rely on the updated Laffev Matrix prepared by the United States Attorney's Office as
          evidence of prevailing market rates for litigation counsel in the Washington, D.C. area. See Covington v.
          District of Columbia, 57 F.3d 1101, 1105 & n. 14, 1109 (D.C. Cir. 1995), cert. denied, 516 U.S. 1115 (1996).
          Lower federal courts in the District of Columbia have used this updated Laffey Matrix when determining
          whether fee awards under fee-shifting statutes are reasonable. See, e.g., Blackman v. District of Columbia, 59 F.
          Supp. 2d 37, 43 (D.D.C. 1999); Jefferson v. Milvets System Technology Inc., 986 F. Supp. 6, 11 (D.D.C. 1997);
          Ralph Hoar & Associates v. Nat'l Highway Transportation Safety Admin., 985 F. Supp. 1, 9-10 n.3 (D.D.C.
          1997); Martini v. Fed. Nat'l Mtg Ass'n, 977 F. Supp. 482, 485 n.2 (D.D.C. 1997); Park v. Howard University,
          881 F. Supp. 653, 654 (D.D.C. 1995).



                                                                                                               EXHIBIT D
